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12
                            IN THE UNITED STATES DISTRICT COURT
13                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                       SAN JOSE DIVISION
14
                                                   CASE NO. 5:22-cv-04486-BLF
15 IAN POULTER, and LIV GOLF, INC.,
   MATT JONES, BRYSON DECHAMBEAU,
                                                   THE PUBLIC INVESTMENT FUND OF
16                       Plaintiffs,               THE KINGDOM OF SAUDI ARABIA AND
                                                   HIS EXCELLENCY YASIR O. AL-
17        v.                                       RUMAYYAN’S REPLY IN SUPPORT OF
                                                   JOINT MOTION TO QUASH
18 PGA TOUR, INC.,
                                                   Judge:      Hon. Beth Labson Freeman
19                       Defendant.
                                                   Date Filed: August 3, 2022
20
                                                   Trial Date: January 8, 2024
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      THE PUBLIC INVESTMENT FUND’S AND HIS EXCELLENCY YASIR O. AL-RUMAYYAN’S REPLY IN
                               SUPPORT OF MOTION TO QUASH
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 1                                       PRELIMINARY STATEMENT
 2          The Tour seeks to establish lack of sovereign immunity as to a foreign sovereign and its
 3 Minister based on their (i) approving capital expenditure increases, (ii) exercising high-level
 4 oversight, and (iii) requesting information from a domestic investment. Accepting the Tour’s
 5 unprecedented position would require this Court to make new law, with serious implications for
 6 foreign policy, international comity, and investment in the US. Rather than showing extraordinary
 7 facts to warrant this extraordinary result, the Tour resorts to mischaracterizing the evidence to distort
 8 PIF’s ordinary investor activities. Sovereign immunity requires quashing the Tour’s subpoenas.
 9          The subpoenas should also be quashed because the Tour has failed to show that this Court
10 may exercise personal jurisdiction. The Tour offers an ipse dixit assertion that PIF exercises “day-
11 to-day control” over LIV but identifies no evidence beyond the routine activities of an investor,
12 which is insufficient to confer personal jurisdiction. The subpoenas should also be quashed because
13 of their extraordinarily burdensome demands on a non-party, which the Tour stubbornly refused to
14 narrow. Nor does the Tour rebut two other dispositive defects of its subpoenas (the 100-mile rule
15 and failure to post fees). The Tour’s attempt to abuse non-party discovery in pursuit of a misplaced
16 tactical advantage should be rejected.
17          The Tour misleadingly claims that “[a]fter promising the Court that PIF would cooperate by
18 providing this discovery, it has now backtracked and engaged in every form of foot -dragging and
19 straw-grasping imaginable to delay the process” (at 2:24-26). The promise was that PIF would not
20 insist on process through the Hague but accept service, which it did, and cooperate in “appropriate
21 discovery,” which it did. Neither PIF nor HE ever agreed to waive sovereign immunity or
22 jurisdictional objections, and the Tour has never sought “appropriate discovery.” Instead, it has
23 refused to discuss anything but complete compliance with its blunderbuss 161 requests for
24 production directed to PIF and HE. The Motion to Quash should be granted.
25                                               ARGUMENT
26 I.       SOVEREIGN IMMUNITY PRECLUDES THE EXERCISE OF JURISDICTION.
27          In the opening brief (“OB”), PIF and HE explained that the subpoenas should be quashed
28 because the FSIA precludes exercise of jurisdiction over PIF. (OB at 7:26 to 12:12.) The Tour
                                                        1
        THE PUBLIC INVESTMENT FUND OF THE KINGDOM OF SAUDI ARABIA’S AND HIS EXCELLENCY
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 1 argues that (i) PIF has not met its burden of showing the exceptions to the FSIA do not apply, (ii)
 2 the commercial activity and waiver exceptions apply to PIF, and (iii) HE does not have common
 3 law immunity. None of these arguments has merit.
 4           The Tour has the burden of showing exceptions to the FSIA apply. The Tour claims (at
 5 7:6-8) that PIF did not contest that it has the burden to show that the FSIA exceptions do not apply.
 6 The Tour is wrong. PIF contested this in its opening brief at 8:7-13—once the foreign sovereign
 7 shows the entity involved is an organ of the state, “the burden of production shifts to the plaintiff
 8 [away from the foreign state] to offer evidence that an exception applies .” Peterson v. Islamic
 9 Republic of Iran, 627 F.3d 1117, 1125 (9th Cir. 2010).
10           The commercial activity exception does not apply. The commercial activity exception does
11 not apply because PIF’s conduct is not what “the action is based upon.” 28 U.S.C. § 1605(a)(2). It
12 is neither “the ‘gravamen’ of the suit” nor “the act complained of.” OBB Personenverkehr AB v.
13 Sachs, 577 U.S. 27, 35 (2015); Broidy Cap. Mgmt., LLC v. State of Qatar, 982 F.3d 582, 593 (9th
14 Cir. 2020). In applying the commercial activity exception, a court must “zero[] in on the core of
15 the[] suit,” i.e., the “acts that allegedly injured the [plaintiffs],” not activities that merely “led to the
16 conduct that eventually injured” them. OBB Personenverkehr, 577 U.S. at 33-34 (citation omitted).
17 Under that demanding standard, the exception cannot apply here.
18           As an initial matter, the Tour has cited no case ever finding a lawsuit to be “based on” the
19 commercial activities of a non-party to the case. As PIF explained in its opening brief (at 10:24-
20 28), all the Tour’s cited authorities involve suits against a foreign state defendant.1 It would be a
21 rare case indeed where an action is somehow “based upon” non-party conduct, 28 U.S.C. § 1605(a),
22 and this is not the case to break new ground. PIF has done little more than invest in LIV.
23           Despite the lack of precedent supporting its position, the Tour argues that LIV’s antitrust
24 claims are “based on” PIF’s conduct because that conduct is relevant to its intended defenses and
25 procompetitive justifications. (Opp. at 9:9-18.) But that argument conflates general relevance with
26
     1For example, in Pablo Star Ltd. v. Welsh Gov’t, 961 F.3d 555, 560-61 (2d Cir. 2020), a foreign
27
   state was sued for distributing copyrighted material. In Embassy of the Arab Republic of Egypt v.
28 Lasheen, 603 F.3d 1166, 1169 (9th Cir. 2010), a foreign state itself allegedly breached a contract.
                                                          2
         THE PUBLIC INVESTMENT FUND OF THE KINGDOM OF SAUDI ARABIA’S AND HIS EXCELLENCY
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 1 the far stricter FSIA requirement that an action be “based upon” the foreign sovereign’s commercial
 2 activity. The Supreme Court has held that the FSIA “calls for something more than a mere
 3 connection with, or relation to, commercial activity.” Saud Arabia v. Nelson, 507 U.S. 349, 358
 4 (1993). Whether or not LIV’s claim relates to PIF’s conduct, it is not “based upon” it.
 5          Nor is the Tour’s tortious-interference counterclaim “based upon” PIF’s conduct. Neither
 6 the Tour’s allegations nor its evidence indicate that PIF had any role in allegedly inducing players
 7 to breach their contracts—the “acts that allegedly injured the [Tour].” OBB Personenverkehr, 577
 8 U.S. at 33-34. The Tour resorts to mischaracterizing evidence to argue otherwise. For example, the
 9 Tour cites documents that show
10
11
12
13
14                                                                               These decisions involve
15 substantial sums, and HE (as an investor) understandably wanted to review them , but he played no
16 role in player negotiations. (Dkt. No. 166-4 ¶ 15.)
17          The remainder of the Tour’s documents show only that PIF funds LIV
18                                                                            (Opp. Exs. 20, 38, 14, 25.)
19 None of this shows that PIF or HE induced prospective players. PIF only provided funding for
20 LIV’s requests to expend funds, consistent with “typical” investor activities. See U.S. v. Bestfoods,
21 524 U.S. 51, 72 (1998) (“supervision of the subsidiary’s finance and capital budget decisions” is
22 “consistent” with investor status). Indeed, the Tour cites no case holding that investor approval of
23 funding and related acts could amount to tortious interference.
24          Finally, the “direct effect” prong of Section 1605(a)(2) is inapposite for precisely the same
25 reasons. This action is no more “based upon” PIF’s foreign conduct than its U.S. conduct. See Wye
26 Oak Tech., Inc. v. Rep. of Iraq, 24 F.4th 686, 700-01 (D.C. Cir. 2022) (the direct effect clause has
27 “long been interpreted to relate only to the conduct of the foreign state”); Atlantica Holdings v. Sov.
28 Wealth Fund Samruk-Kazyna JSC, 813 F.3d 98, 112 (2d Cir. 2016) (the “focus” of the direct effect
                                                       3
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 1 clause is “the activity of the sovereign”). The Tour misreads the statute to argue that the case is
 2 based on an alleged “direct effect” of PIF’s conduct, rather than the conduct itself . (Opp. at 9:19-
 3 28.) In any event, at minimum, LIV’s decisions about which players to recruit constitutes an
 4 intervening cause, such that PIF’s funding could not “directly” cause any purported breach. See In
 5 re Cathode Ray Tube (CRT) Antitrust Litig., 2018 WL 659084, at *5 (N.D. Cal. Feb. 1, 2018).
 6          The waiver exception does not apply. The Tour argues that PIF waived sovereign immunity
 7 because LIV—not PIF—filed this lawsuit.          (Opp. at 10:16-27.) That novel position would
 8 dramatically expand the FSIA’s waiver exception. No precedent supports the notion that another
 9 party’s filing of a lawsuit could constitute a waiver for one of its investors . PIF and LIV are
10 “separate juridical entit[ies],” Flatow v. Islamic Rep. of Iran, 308 F.3d 1065, 1073 (9th Cir. 2002),
11 so attributing LIV’s conduct to PIF requires alter ego or agency. See Doe v. Holy See, 557 F.3d
12 1066, 1077-79 (9th Cir. 2009). The Tour does not attempt to show this.
13          PIF’s “agreement” to provide capital to fund LIV’s budget has nothing to do with
14 waiver. That PIF may request reasons for capital expenditures is not evidence that PIF “authorized”
15 this lawsuit. The Tour’s argument would subject every foreign state investor to sovereign immunity
16 waiver for ordinary investor activities. But PIF did not direct LIV’s decision. (Dkt. No. 166-6 ¶
17 2.) The Tour’s expansive definition of waiver is untenable, and it fails to meet its burden.
18          HE is protected by common law immunity. The Tour claims that the subpoena is not
19 directed to HE’s official acts. To reach this conclusion, the Tour ignores that (1) the HE subpoena
20 seeks the same information as the PIF subpoena; (2) HE provided evidence that the subpoena seeks
21 documents to which he has access or possession solely due to his role as Governor of PIF, i.e., in
22 his official capacity, (Dkt. No. 166-4 ¶ 2); and (3) many of the requests concern PIF on their
23 face. (E.g., HE Requests 55 (“PIF’s organizational structure and personnel”), 56 (“PIF’s current
24 leadership”), 57 (“all stockholders, owners, and investors in [] PIF”), 58 (“PIF board minutes.”).)
25          The Tour claims that HE acts as “CEO and Commissioner” of LIV Golf Investments by
26 misreading a document that actually refers to two separate people: HE (who, as PIF’s representative,
27 acts as Chairman), and a “CEO & Commissioner.” (Dkt. No. 89-2 at 11.) The very next page states
28 that Greg Norman is the CEO and Commissioner. (Id. at 12.) The remaining eight (out of ten)
                                                      4
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 1 Board members are appointed. (Id. at 11.) HE is not the CEO and Commissioner. And as explained
 2 before, LIV Golf Investments is a separate legal entity from the plaintiff in this lawsuit.
 3          Furthermore, as shown in the opening brief, there is no “commercial activity” exception for
 4 foreign official immunity. The Tour’s main case addresses the commercial activity of a foreign
 5 government, not an official. Alfred Dunhill of London, Inc. v. Republic of Cuba, 425 U.S. 682, 695
 6 (1976) (addressing conduct of “the Cuban Government”). The other authority states that “purely
 7 private acts,” which are by definition not “official” acts, are not subject to imm unity. Republic of
 8 Phil. v. Marcos, 806 F.2d 344, 359 (2d Cir. 1986). And the Tour has not argued that the HE
 9 subpoena is directed at “purely private” conduct, because it is not. (Dkt. No. 166-4 ¶ 2.)
10          Even if the Court breaks new ground and recognizes such an exception, it fails against HE
11 for the same reasons as stated for PIF.
12 II.      THE SUBPOENAS SHOULD BE QUASHED BECAUSE THE TOUR HAS FAILED
            TO SHOW THAT THIS COURT HAS PERSONAL JURISDICTION.
13
            Irrespective of the FSIA analysis, the Tour must establish personal jurisdiction. The Tour
14
     is wrong (at 7:3-6) that once jurisdiction is shown under FSIA, jurisdiction is “automatic.” PIF and
15
     HE contested it on the first page of their brief (at 1:26 to 2:2), and the law is to the contrary. Both
16
     statutory and constitutional requirements must be satisfied to exercise jurisdiction, as the Tour’s
17
     cases recognize. See Pebble Beach v. Caddy, 453 F.3d 1151, 1154-55 (9th Cir. 2006); Shapiro v.
18
     Rep. of Bolivia, 930 F.2d 1013, 1020 (2d Cir. 1991) (“There is of course a constitutional constraint
19
     on the assertion of personal jurisdiction” in addition to FSIA). The Tour’s case, Samantar v. Yousuf,
20
     refers to statutory jurisdiction. 560 U.S. 305, 325 n.20 (2010). Moreover, the relevant statute applies
21
     only to “nonjury civil action[s] against a foreign state,” which this case is not. 28 U.S.C. § 1330.
22
            PIF’s role as foreign investor does not confer personal jurisdiction. PIF and HE are not
23
     subject to jurisdiction by virtue of their status as beneficial owner s of a plaintiff. See Shaffer v.
24
     Heitner, 433 U.S. 186, 216 (1977) (finding that “it strains reason” to suggest that investment alone
25
     subjects the investor to jurisdiction); Ranza v. Nike, Inc., 793 F.3d 1059, 1070 (9th Cir. 2015)
26
     (parent-subsidiary tie insufficient). The Tour’s claims based on direct contacts and agency fail.
27
            PIF’s and HE’s direct contacts are insufficient. The Tour relies on three categories of
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                                                        5
         THE PUBLIC INVESTMENT FUND OF THE KINGDOM OF SAUDI ARABIA’S AND HIS EXCELLENCY
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 1 contacts to argue that PIF and HE have minimum contacts for specific jurisdiction: (i) contacts with
 2 US golfers and agents, (ii) contacts with consulting companies, and (iii) purported negotiations on
 3 behalf of LIV with US sponsors, broadcasters, and advertisers. None is sufficient.
 4          The Tour mischaracterizes the evidence to claim that PIF and HE “have repeatedly and
 5 personally negotiated” with US players and agents. The Tour’s evidence actually shows that
 6
 7
 8
 9
10 These are not negotiations with prospective players. Other evidence cited by the Tour—i
11
12                                                                 —have no bearing on the claims. (Id.
13 Exs. 14, 17, 38.) None of this is evidence of relevant contacts.
14          PIF’s and HE’s contacts with consulting companies and “sponsors, broadcasters, and
15 advertisers” are likewise irrelevant. These companies did not cause LIV to sign up players or the
16 Tour to seek to exclude LIV. They lack nexus to the conduct at issue in the claims. See Pebble
17 Beach, 453 F.3d at 1155 (requiring that “the claim arises out of or results from” contacts). The same
18 holds true for emails. The Tour emphasizes PIF’s “hundreds of emails” sent to the US (at 13:10-
19 12) but does not show any connection to the claims. Nor is it relevant that PIF or HE made the initial
20 contact with some LIV agents and sponsors. Any relevant conduct would occur after that initial
21 contact, and the information can be obtained from the US parties themselves (LIV, consultants, etc.).
22 PIF and HE acted as investors, which is insufficient.
23          The Tour’s agency arguments fail. The Tour’s agency test is incorrect. Following the
24 Supreme Court decision in Daimler AG v. Bauman, 517 U.S. 117 (2014), the law is unsettled
25 whether an agency theory is available for specific jurisdiction. See Williams v. Yamaha Motor Co.,
26 851 F.3d 1015, 1023-24 (9th Cir. 2017). Nonetheless, courts that have considered an agency theory
27 required a parent company to have “taken over performance of day -to-day operations” of a
28 subsidiary. In re Cal. Gas. Spot Market Antitrust Litig., No. 20-cv-03131-JSC, 2021 WL 4461199,
                                                       6
        THE PUBLIC INVESTMENT FUND OF THE KINGDOM OF SAUDI ARABIA’S AND HIS EXCELLENCY
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 1 at *2 (N.D. Cal. Sept. 29, 2021). The Tour’s cited cases require the same. See In re Packaged
 2 Seafood Prod. Antitrust Litig., 277 F. Supp. 3d 1167, 1189 (S.D. Cal. 2017) (same); In re
 3 Hydroxycut Mktg. & Sales Pract. Litig., 810 F. Supp. 2d 1100, 1115 (S.D. Cal. 2011) (similar).
 4          The Tour does not meet this standard. The Tour’s evidence amounts to oversight, including
 5 that
 6
 7
 8
 9
10
11                                                                                 (Id. Exs. 6, 8-11.) PIF
12 does not perform LIV’s operations, and personal jurisdiction based on agency fails. 2
13          The exercise of jurisdiction would be unreasonable. Exercising jurisdiction based on these
14 common investor activities would be an affront to international comity. The Tour’s response (at
15 14:10-11) is premised on misstatements of fact, such as that PIF recruited Tour members or
16 orchestrated this litigation (it did neither, and the Tour has identified no such evidence). Nor did
17 the Tour rebut the showing that producing certain documents would violate the PIF law. The PIF
18 law, attached to HE’s declarations, clearly forbids disclosure. (Dkt. No. 166-4, Ex. A art. 17.)
19          Tag jurisdiction does not apply. The Tour does not address that tag jurisdiction does not
20 apply to non-natural persons, such as PIF. See Ridgeway v. Phillips, 383 F. Supp. 3d 938, 945 (N.D.
21 Cal. 2019). As to HE, the Tour relies on a service stipulation (a stipulation that expressly preserved
22 all objections). (Dkt. No. 148-2 at 19.) Service is not relevant to a doctrine based expressly “on
23 physical presence alone.” Burnham v. Sup. Ct. of Cal., Cnty. Of Marin, 495 U.S. 604, 619
24 (1990). HE was not physically present, and tag jurisdiction does not apply.
25
26
     2
27
28 (Opp. Ex. 1 at 12.) HE does not negotiate with players, regardless of title. (Dkt. No. 166-4 ¶ 15.)
                                                       7
         THE PUBLIC INVESTMENT FUND OF THE KINGDOM OF SAUDI ARABIA’S AND HIS EXCELLENCY
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 1 III.     THE SUBPOENAS SHOULD BE QUASHED AS PATENTLY OVERBROAD AND
            UNDULY BURDENSOME, ESPECIALLY IN LIGHT OF THE TOUR’S REFUSAL
 2          TO MEET-AND-CONFER OR COMPROMISE.
 3          The Tour’s subpoenas to non-parties PIF and HE mirrored the full scope of its subpoena to
 4 Plaintiff LIV. As such, they violated every prescription of limited Rule 45 discovery. PIF and HE
 5 could not be expected to waive sovereign immunity or jurisdiction. Instead, they asked the Tour
 6 about what it actually needs and offered to discuss voluntary compliance. At the meet-and-confer,
 7 the Tour’s counsel refused to discuss compromise or voluntary production. The Tour buries its
 8 response to these points at the end of its brief and says nothing of relevance.
 9          The Tour fails to justify its refusal to meet-and-confer or narrow the subpoenas. The
10 opening brief filed by PIF and HE quoted their multiple offers to make voluntary discovery; showed
11 that the Tour refused to even discuss voluntary production or compromise; and noted that late in the
12 day the Tour “narrowed” a few requests on a cosmetic basis that did not lessen their overbreadth.
13 (OB at 6:1 to 7:18.) The Tour responds (at 1:4-15) by saying (twice) it was “false” that PIF/HE
14 offered voluntary production and even if they did the Tour did not have to accept it; and (at 20:1-8),
15 that PIF/HE only “gestured in the direction of voluntary discovery” but “offered nothing.”
16          First, the Tour does not contest that its supposed “narrowing” was cosmetic. Given the
17 overlapping nature of its dozens of requests, the requests withdrawn remained in substance, as it
18 concedes by its silence. Second, the Tour’s claim that PIF and HE “offered nothing” goes nowhere.
19 PIF and HE’s written requests to the Tour to identify its core needs and its offer to discuss voluntary
20 compliance is the in the record. The Tour (again, by its silence) admits that it refused to engage or
21 respond to PIF and HE’s multiple invitations to discuss voluntary production. PIF could not discuss
22 voluntary production with itself and there was no way for PIF and HE to guess at what the Tour
23 really wanted or would accept. Third, the Tour’s argument that it did not have to pursue voluntary
24 production because PIF and HE were unwilling to abandon their sovereign immunity and
25 jurisdictional defenses at the outset before discussion could even begin—before the Tour made a
26 single compromise—demonstrates the Tour’s view of meet-and-confer as an ultimatum. This
27 argument sits very poorly in the Tour’s mouth in any event because it refused (as its silence admits)
28 to discuss ways a voluntary production could be enforced. The record is plain: the Tour refused to
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 1 meet-and-confer or to compromise in any way its patently overbroad non-party discovery. Its
 2 bullying tactics should not be rewarded.
 3          The Tour fails to justify the breadth and burden of its subpoenas. The opening brief
 4 demonstrated that the subpoenas (i) were patently overbroad in their definitions, failed to narrow
 5 such broad categories of “professional golfers,” and consistently demanded “all documents” (at 19:8
 6 to 21:4); (ii) sought irrelevant discovery, such as PIF’s investments (at 19:9 to 22:17, citing dozens
 7 of irrelevant demands); (iii) sought discovery readily ascertainable from others, principally LIV (at
 8 22:18 to 23:22, citing dozens of demands); and (iv) sought non-parties’ confidential information (at
 9 23:22 to 24:28). The Tour’s brief response fails to rebut any of these points.
10          First, the Tour argues that LIV’s agreement (before discovery even began) to facilitate
11 discovery from PIF and HE itself demonstrates relevance (at 17:26 to 18:3). No. LIV never
12 indicated it thought discovery of PIF and HE was relevant, and surely not relevant enough to justify
13 the enormous burden of the subpoenas the Tour actually served. At an early conference with the
14 Court, LIV’s counsel were acting as good soldiers of the Court to accommodate the Tour’s
15 insistence it would seek such discovery, not suspecting at the time the patent overbreadth of the
16 subpoenas the Tour would ultimately serve or its utter refusal to even discuss compromise.
17          Second, the Tour asserts that PIF and HE did not respond to the Tour’s arguments that
18 discovery from PIF and HE was relevant because it would cast light on “competitive pricing” and it
19 needed PIF’s communications to sponsors, vendors and others (at 18:4 -14). The Tour does not
20 explain why competitive pricing is relevant, why these tertiary topics justify the burden imposed, or
21 why discovery from LIV would not satisfy whatever need the Tour has on these topics.
22          Third, the Tour argues its discovery is relevant to its “reputational harm” defense and it
23 properly seeks discovery on Golf Saudi (at 18:15-24). Again, the Tour fails to discuss the limited,
24 if any, relevance of these tertiary topics to the burden imposed on non-parties, or why discovery
25 from LIV would not be sufficient.
26          Fourth, the Tour argues that the information it seeks from PIF and HE is not available from
27 other parties, including LIV (at 18:25 to 19:16). It identifies only two topics (PIF’s communications
28 with professional golfers, vendors, and broadcasters and the demise of the Premier Golf League).
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 1 The Tour again fails to analyze burden-to-relevance but, critically, does not address the many dozens
 2 of requests that fall outside of any topic discussed in the Tour’s Motion or Reply (see OB at 23:10-
 3 11). This is the very offensive discovery taken from LIV; on this record, there is no reason to believe
 4 anything meaningful is not available from LIV.
 5 IV.      THE TOUR FAILS TO REBUT TWO OTHER DISPOSITIVE DEFECTS.
 6          A.      The Subpoenas Violate The 100-Mile Rule
 7          The Tour reverts to misdirection because it cannot show that PIF or HE regularly transact
 8 business in person within 100-miles of New York City. As to PIF, the Tour again ignores that the
 9 New York City office it alludes to belongs to a PIF subsidiary, not PIF. (Dkt. No. 166-4 ¶ 19.) The
10 Tour then argues that “PIF regularly transacts business on New York City’s stock exchanges,” which
11 is irrelevant. The business must be transacted in person. As PIF has shown, neither ownership nor
12 investment suffice. As to HE, the Tour states (at 17:16-18) that “when asked in September 2020
13 whether he ‘come[s] to New York often,’ he responded, ‘our portfolio companies are [in New York
14 and the United States], so I do go quite often.’” Exhibit 41 states in full: “I’m a frequent visitor to
15 the U.S.—New York, Miami, San Francisco. Some of our portfolio companies are there, so I do go
16 quite often.” This quote is of no value; it contains no specifics of HE’s frequency of visits to New
17 York, the only venue that matters. The Tour also does not dispute that HE’s visits to New York are
18 for one-off events, and hence irregular by definition.
19          B.      Failure to Tender Fees
20          The Tour’s failure to tender fees invalidated the subpoenas on their face, which cannot later
21 be “cured.” See, e.g., Olagues v. Schmidt, 897 F.2d 533, at *2 (9th Cir. 1990) (“[T]he subpoenas
22 were invalid on their faces, because they stated that no fees were tendered with service of the
23 subpoena”); CF & I Steel Corp. v. Mitsui & Co. (U.S.A.), 713 F.2d 494, 496 (9th Cir. 1983) (“the
24 plain meaning” of Rule 45 “requires simultaneous tendering of witness fees ”); Fujikura Ltd. v.
25 Finisar Corp., No. 15MC80110HRLJSC, 2015 WL 5782351, at *5 (N.D. Cal. Oct. 5, 2015)
26 (quashing subpoena because the subpoenaing party “did not initially tender fees”) (emphasis added).
27                                              CONCLUSION
28          PIF and HE respectfully request that the Court grant their joint Motion to Quash.
                                                      10
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 1                  ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1
 2         Pursuant to Civil Local Rule 5-1(h)(3) of the Northern District of California, I attest that
 3 concurrence in the filing of the document has been obtained from each of the other signatories to
 4 this document.
 5
 6         Executed on December 6, 2022.
 7
                                                           /s/_Dominic Surprenant_________________
 8                                                         Dominic Surprenant
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